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   The relief described hereinbelow is SO ORDERED.

   Signed September 05, 2017.


                                                 __________________________________
                                                              Ronald B. King
                                                   Chief United States Bankruptcy Judge



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

    IN RE:                                   §         CASE NO.     16-51419
    COWBOYS FAR WEST, LTD.,                  §
    DEBTOR(S)                                §         CHAPTER      11

              ORDER CONFIRMING PLAN AND APPOINTING DISBURSING AGENT

            On August 30, 2017, came on to be heard the hearing for

    Confirmation of Plan proposed by the above named Debtor.                        The

    Court, having found that the Plan (Docket Text No. 173), and

    Disclosure Statement (Docket Text No. 172) have been properly

    transmitted to creditors, equity security holders and parties in

    interest whose acceptance is required by law, and notice of this

    hearing, having been given to all interested parties, and the

    Court, having heard and considered evidence and testimony at such

    hearing, finds that:

            (1)     The Plan (Docket Text No. 173) proposed herein, a copy

    of which is attached hereto as Exhibit “A”, has been accepted in

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    writing        by    the    creditors   and       equity   security   holders   whose

    acceptance is required by law, save and except that there are

    changes to this Plan which will be stated below in this Order.

            (2)     Debtors’ counsel, stated in open court on the August 30,

    2017, certain changes to the Plan of Reorganization Debtor’s set

    forth below.               Those representations made in open court shall

    become a part of this Confirmation Order.

            (3)     The Plan, and the proponents of the Plan, have complied

    with the provisions of Chapter 11 of Title U.S.C. Section 1129(a);

    the Plan has been proposed in good faith and not by any means

    forbidden;

            (4)     All payments made or promised by the Debtor, or by a

    person issuing securities or acquiring property under the Plan, or

    by any other person or services or for costs and expenses, or in

    connection with the Plan and incident to the case, have been fully

    disclosed to the Court and are reasonable or, if to be fixed after

    confirmation of Plan, will be subject to the approval of the

    Court;

            (5)     The identity, qualifications and affiliations of the

    persons who are to be directors or officers, or voting trustees,

    if any, of the Debtor, after confirmation of the Plan, have been

    fully disclosed, and the appointment of such persons to such

    offices, or their continuance therein, is equitable and consistent

    with the interests of the creditors and equity security holders


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    and with public policy; and

            (6)     The identity of any insiders that will be employed or

    retained by the Debtor, and their compensation, have been fully

    disclosed; and

            (7)     Except to the extent that the holder of a particular

    claim has agreed to a different treatment of such claim, the Plan

    provides that:

                    (A)        with respect to a claim of a kind specified in

                               Section     507(a)(1)           or   507(a)(2)    of   title     11,

                               U.S.C., on the effective date of the Plan, the

                               holder of such claim will receive, on account of

                               such claim, cash equal to the allowed amount of

                               such claim;

                    (B)        with   respect     to       a   class   of   claims    of   a   kind

                               specified     in   Section           507(a)(3),    507(a)(4)      or

                               507(a)(5) of title 11 U.S.C., each holder of a

                               claim of such class will receive–

                               (I)    if such class has accepted the Plan, deferred

                                      cash payments of a value, as of the effective

                                      date of the Plan, equal to the allowed amount

                                      of such claim; or

                               (ii) if such class has not accepted the Plan, cash

                                      on the effective date of the Plan equal to

                                      the allowed amount of such claim; and


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                    (c)        with respect to a claim of a kind specified in

                               Section 507(a)(6) of title 11 U.S.C., the holder

                               of such claim will receive, on account of such

                               claim, deferred cash payments over a period not

                               exceeding six years after the date of assessment

                               of such claim, of a value, as of the effective

                               date of the Plan, equal to the allowed amount of

                               such claim.

            (8)     Confirmation of the Plan is not likely to be followed by

    the liquidation, or the need for further financial reorganization,

    of the Debtor or any successor to the Debtor under the Plan.

            (9)     That at Article V of the Plan of Reorganization (Docket

    Text No. 173), the Court finds that the Plan provides certain

    treatment to the BEXAR COUNTY TAX ASSESSOR/COLLECTOR that has been

    objected to by the BEXAR COUNTY TAX ASSESSOR/COLLECTOR.                 The Court

    finds that the treatment and payment to the Class 2 Creditor,

    BEXAR COUNTY TAX ASSESSOR/COLLECTOR, shall be paid as follows:

            Class 2            pertains to the allowed secured claim of BEXAR

    COUNTY TAX ASSESSOR/COLLECTOR (and for those taxing entity which

    Bexar       County          collects     ad   valorem   taxes)   in   the   amount

    of $153,928.44.              The Bexar County allowed secured claim in the

    amount of $153,928.44 shall be paid in full in forty-eight (48)

    equal, consecutive monthly installments, with the first payment

    being made on the first day (1st) day of the first full month


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    following the Plan’s Effective Date. Post-petition interest will

    accrue at the rate of twelve percent (12%) per annum from the

    Petition Date until the confirmation date and thereafter, plan

    interest at the rate of twelve percent (12%) per annum shall

    accrue on the entire balance until the tax debt is paid in

    full.

            In the event the Debtor sells, conveys or transfers any of

    the properties which are the collateral of the Bexar County claim

    or post confirmation tax debt, the Debtor shall remit such sales

    proceeds first to Bexar County to be applied to the Bexar County

    tax debt incident to any such property/tax account sold, conveyed

    or transferred and such proceeds shall be disbursed by the closing

    agent at the time of closing prior to any disbursement of the sale

    proceeds to any other person or entity.

            The Reorganized Debtor may pre-pay the pre-petition tax debt

    to Bexar County at any time.        The Debtor shall have sixty (60)

    days from the Effective Date to object to the Bexar County claim;

    otherwise, the Bexar County claim shall be deemed as an allowed

    secured claims in the amount of its amended Proof of Claim. Bexar

    County shall retain its statutory lien securing its pre-petition

    and post-petition tax debts until such time as the tax debt

    respective to each property are paid in full.           Debtor shall pay

    all post-petition ad valorem tax liabilities (tax year 2017 and

    subsequent tax years) owing to Bexar County in the ordinary course


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    of business as such tax debt comes due and prior to said ad

    valorem taxes becoming delinquent without the need of Bexar County

    to    file      an    administrative   expense   claim      and/or    request   for

    payment.

            Should the Reorganized Debtor fail to make any payments as

    required in this Plan, Bexar County shall provide written notice

    of that default by sending written notice by certified mail to

    Debtor       and     Debtor’s   attorney   advising    of   that     default,   and

    providing the Reorganized Debtor with a period of fifteen (15)

    days to cure the default. In the event that the default is not

    cured within fifteen (15) days, Bexar County may, without further

    order of this Court or notice to the Debtor, pursue all of their

    rights and remedies available to them under the Texas Property Tax

    Code to collect the full amount of all taxes, penalties and

    interest owed.             Additionally, the failure to timely pay post-

    petition and/or            post-confirmation   taxes   while    the   Reorganized

    Debtor is still paying any pre-petition debt, shall be considered

    an event of default.              Bexar County shall provide Debtor with

    written notice of that default and a fifteen (15) day opportunity

    to cure said default. In the event that the Reorganized Debtor

    fails to timely cure the post-petition and/or post-confirmation

    default, Bexar County may, without further order of this court or

    notice to the Debtor, pursue all of their rights and remedies

    available to them under the Texas Property Tax Code to collect the


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    full     amount       of   all    taxes,      penalties      and   interest     owed.    The

    Reorganized Debtor shall be entitled to no more than three (3)

    Notices of Default.              In the event of a fourth (4th) default, Bexar

    County may pursue all rights and remedies available to it under

    the Texas          Property      Tax   Code    in    state   district     court    without

    further order of this court or further notice to the Debtor.

            (10) That at Page 21 of the Plan, regarding Class 3, the

    Debtor provided for certain treatment, but the secured creditor,

    PRINSBANK,         requires      further      clarification        in   addition   to    the

    confirmation order as follows:

            In connection with Section 5.01 of the Plan, PrinsBank shall

    be entitled to recover the amount of $34,000.00, as reasonable

    fees pursuant to section 506(b) of the Bankruptcy Code.                         PrinsBank

    and     Debtor       agree    that     on   the     Effective      Date   the   amount    of

    $34,000.00, shall be added to the Principal balance of the Note

    that constitutes the Allowed Class 4 Claim of PrinsBank.

            The Allowed Class 4 Claim for PrinsBank will also include, as

    part of the amounts added to the Principal balance of the Note,

    accrued but unpaid interest of $154,053.18, which represents the

    unpaid interest through August 31, 2017.                       After August 31, 2017,

    the Note shall continue to accrue interest at the per diem rate of

    $356.1184.         PrinsBank and Debtor agree that any additional amounts

    of accrued interest beginning on September 1, 2017, up to the

    Effective Date of the Plan shall also be added to the Principal


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    balance of the Note that constitutes the Allowed Class 4 Claim of

    PrinsBank.          Based on these agreements, Debtor waives any and all

    rights       that     it   may   have   under   sections   502   and   506   of   the

    Bankruptcy Code to challenge any amounts owed to PrinsBank on its

    Allowed Class 4 Claim.

            (11) That at page 19 of the Plan, at Paragraph 5.01 regarding

    provision for treatment of classes of creditors, although set

    forth in the disclosure statement, the Plan of Reorganization may

    not restate the treatment of the unsecured creditors contained in

    Class 6 the agreement made regarding the disputed claim of AMIE

    HAYNES.        Accordingly, the Class 6 creditors, to the extent that

    their claims are allowed shall be paid as follows:

            Said Class 6 creditors shall be paid 100% of their claim to

    be paid pro rata over a period 60 months with 3% annual interest.

    Said payments shall commence thirty (30) days after the effective

    date of the Plan, save and except the creditor AMIE HAYNES.                       The

    claim of AMIE HAYES has been disputed by the Debtor.                    On October

    8, 2012, AMIE HAYNES, unsecured creditor, filed her Plaintiff’s

    Original Petition in the 57th Judicial District Court of Bexar

    County, Texas in Cause No. 2012-CI-16520.                  After this bankruptcy

    case was filed, the Debtor, on February 13, 2017, filed a Notice

    of Removal of the litigation from State Court to Bankruptcy Court.

    The case was assigned a number, Adversary Proceeding No. 17-5011.

    On March 8, 2017, the Debtor filed a Motion to Withdraw the


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    Reference (Docket Text No. 5).        To date, the U.S. District Court

    has not acted upon that Motion to Withdraw the Reference.                The

    parties have agreed that the Debtor shall withdraw the Motion to

    Withdraw the Reference immediately upon this Court signing the

    Confirmation Order.        It is further agreed that within three (3)

    days thereafter, Debtor’s counsel shall file a Motion to Remand

    this litigation back to the District Courts of Bexar County,

    Texas.

            It is therefore ORDERED, ADJUDGED and DECREED:

            (1)     The Plan (Docket Text No. 173) proposed herein, along

    with a copy of which is attached hereto as Exhibit “A”, along with

    the oral representations made in open court, along with those

    agreement representations set forth in this Order Confirming Plan

    have been accepted in writing or verbally by the creditors and

    equity security holders whose acceptance is required by law.

            (2)     MICHAEL J. MURPHY is appointed Disbursing Agent under

    the Plan, with authority to make all disbursements and payments

    required by the Plan; provided, however, that the Disbursing Agent

    and his agent shall not be liable for any           action or failure to

    act hereunder in the absence of proof of bad faith or gross

    negligence;

            (3)     The Court shall retain jurisdiction until this Plan is

    fully consummated and/or a final decree is entered, whichever

    event occurs earlier, specifically including, but not limited to,


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    the jurisdiction to determine all objections that may be filed to

    claims of creditors herein; to fix and award all compensation to

    parties who may be so entitled; to herein determine all questions

    concerning          assets   or   property    of   the   Debtor,   including   any

    questions relating to any sums of money, services or property due

    to the Debtor; and determine all matters of any nature or type

    necessary and appropriate to carry out the provisions of this

    Plan.

                                             ###




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

    IN RE:                                   §       CASE NO.   16-51419
    COWBOYS FAR WEST, LTD.,                  §
    DEBTOR(S)                                §       CHAPTER    11


                   COWBOYS FAR WEST, LTD.’S SECOND AMENDED PLAN OF
                              REORGANIZATION COVERSHEET




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

    IN RE:                                                 §               CASE NO.      16-51419
    COWBOYS FAR WEST, LTD.,                                §
    DEBTOR(S)                                              §               CHAPTER       11

     SECOND AMENDED PLAN OF REORGANIZATION FOR COWBOYS FAR WEST, LTD.

            COWBOYS        FAR       WEST,        LTD.     propose         the     following     Plan    of

    Reorganization pursuant to the provisions of Chapter 11 of the

    Bankruptcy          Code         and     Rule     2015(b)         of    the     Federal     Rules    of

    Bankruptcy Procedure:

                                                    ARTICLE I

                                                   Definitions

            For     the       purposes         of     this      Plan        of    Reorganization,        the

    following         terms          shall     have      the     following           meanings,       equally

    applicable to the singular and plural forms or the gender of the

    terms defined, unless the context clearly requires otherwise.

    These      terms       shall       be     designated,             where       such   definition      is

    applicable, with capital letters and those definitions shall be

    enforceable          as     terms        of     this       Plan    in        conjunction     with   the

    respective matters to which they reference or define:

            1.01.             Administrative Claim:                   means a request for payment

    of an administrative expense in the case under §503(b) that, if

    allowable, would be entitled to priority under §507(a)(1).

            1.02.             Allowed         Claim      or     Interest:            means     any    claim

    against, or interest in, the Debtor’s, proof of which was filed on


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    or before the Bar Date or pursuant to 2.04.02 herein or, if no

    proof of claim or interest has been filed, a claim or interest

    that      was     scheduled         by    the     Debtor   on    the    Debtor’s    original

    schedules filed on or about the petition date as liquidated in

    amount       and     not         disputed    or    contingent     or     disputed    in   the

    disclosure statement or this plan and, in either case, a claim or

    interest as to which no objection has been filed or will be filed;

    or if subject to an objection or other proceeding considered by

    the Court, a claim or interest that has been determined by Final

    Order of the Court.

            1.03.            Allowed Secured Claim(s):               means an Allowed Claim

    which is secured by a valid, duly perfected voluntary lien on

    (whether voluntary or involuntary), or a security interest in,

    property in which the Debtor have an interest (including property

    of the estate), or which is subject to setoff under Bankruptcy

    Code §553, to the extent of the lesser of:                        (i) the value of such

    property securing the Allowed Secured Claim; or (ii) the amount of

    such Allowed Claim which is secured, as the case may be, including

    any election made pursuant to §1111 of the Bankruptcy Code.

            1.04.            Allowed         Unsecured     Claims:         means   an   Unsecured

    Claim against Debtor:                    (a) for which a proof of claim has been

    timely filed with the court by the claims bar date, or, with leave

    of Court and without objection by any party in interest, late

    filed, and as to which neither Debtor nor any party in interest


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    files an objection or as to which the claim is allowed by Final

    Order of the court, or (b) scheduled in the list of creditors, as

    may be amended, prepared and filed with the Court pursuant to Rule

    1007(b) and not listed as disputed, contingent or unliquidated as

    to amount, and as to which no objection to the allowance thereof

    has been interposed pursuant to the terms of this Plan, or as to

    which any such objection has been determined by an order or

    judgment which             is    no   longer   subject   to   appeal   or   certiorari

    proceeding and as to which no appeal or certiorari proceeding is

    pending.          This category includes all claims deemed unsecured

    pursuant to §506(a) of the Bankruptcy Code.

            1.05.            Bankruptcy Code or “Code”:           means Title 11, U.S.C.

    §101 et seq., the statute of the United States, in effect on the

    petition date, and all amendments thereto and in effect on or

    before the confirmation date, or thereafter only if specifically

    provided retroactive by any such amendment and only to the extent

    such amendment may be valid and constitutional, and does not

    materially         and     adversely     affect    the   interest   of   the   Debtor,

    creditors or any other party in interest.

            1.06.            Bar Date:      means August 8, 2011 for all creditors

    except a governmental, being the date that was fixed by the Court

    for filing claims in both Chapter 11 proceedings which are the

    subject of this Plan pursuant to BANKR. R. P. 3003(b); provided,

    however, if the Court extends the time for filing any given claim,


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    the date so set shall be the Bar Date with respect to that claim,

    but only with respect to such claim.

            1.07.            Claim(s):     means a “claim” alleged or which is, in

    fact,      due      or    assertable     against     the    Debtor     as    defined   in

    Bankruptcy         Code      §101(4)   and    includes     those    claims    which    are

    allowed and all those claims which are not yet due, or which are

    unmatured, contingent and otherwise unliquidated.

            1.08.            Class    or   Classification:       means     the    particular

    Class designated in this Plan pursuant to Bankruptcy Codes §§1122

    and 1129 into which Creditor’s Allowed Claims may be included, as

    provided in this Plan, including classification for voting, for

    distributions and for impairment.

            1.09.            Code:     means The United States Bankruptcy Code,

    being Title 11 of the United States Code, as enacted in 1978 and

    thereafter amended.              References to “Section” or “Sections,” unless

    otherwise specified, shall be to the Code.

            1.10.            COWBOYS FAR WEST, LTD. Case:              means the captioned

    Chapter 11 Bankruptcy case styled In re: COWBOYS FAR WEST, LTD.,

    as commenced on June 24, 2016, as a Chapter 11 proceeding, the

    date of the filing of the Voluntary Petition.

            1.11.            Confirmation:       means entry by the Court of an Order

    Confirming the Plan at or after a hearing pursuant to §1129.

            1.12.            Confirmation Date:        means the date of Confirmation.




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            1.13.            Court:    means United States Bankruptcy Court for

    the Western District of Texas, San Antonio Division.

            1.14.            Creditor(s):    means all persons or entities           having

    Claims       for     debts,      liabilities       and   demands   of   any   character

    whatsoever, as defined in Bankruptcy Code §101(4), including, but

    not limited to, future contingent Claims for un-matured potential

    liability of Claims of the United States Government and any agency

    or department thereof, and any other governmental authority, and

    whether or not the Creditor has an Allowed Claim.

            1.15.            Debtor:    means COWBOYS FAR WEST, LTD., the Debtor,

    in its proceedings under Chapter 11 of the Code.

            1.16.            Distribution Date:          means the date or dates upon

    which interim distributions provided under this Plan are to be

    made.

            1.17.            Effective    Date:         means    the   date   upon   which

    confirmation becomes a Final Order.

            1.18.            Estate:     means the bankruptcy estate of, created

    upon filing this case.

            1.19.            Executory Contract(s):          means any contract found to

    be of the nature referred to in §365 of the Bankruptcy Code as an

    Executory Contract, which requires assumption and/or rejection by

    the Debtor.

            1.20.            Exhibits:    means those items (i) attached to the

    Plan and incorporated herein by reference; and (ii) attached to


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    the Approved Disclosure Statement and incorporated herein and

    therein by reference; and (iii) attached to the Order Confirming

    the Plan and incorporated herein and therein by reference.

            1.21.            Final Order or Final Judgment:            means any Order of

    the Court which is conclusive of all matters adjudicated therein,

    which is in full force and effect because the Final Order has not

    been:      (i) appealed, is not an allowed appeal or is denied review

    by certiorari or otherwise; or (ii) has not been reversed or

    modified; or (iii) which is not the subject of any pending appeal,

    review,        rehearing,         and    is   in   all   respects    final    and      non-

    appealable.

            1.22.            Initial Distribution Date:              means the date upon

    which the first distribution under the Plan shall be made.                             The

    Initial Distribution Date shall be that date which the Debtor

    choose in its sole discretion; however, it shall be no later than

    thirty (30) days after Confirmation.

            1.23.            Judgment Creditor(s) or Judgment Claim(s):                 means

    a Creditor whose Claim arose as a result of the entry of a

    judgment prior to the Petition Date by a state or federal court of

    competent jurisdiction in a proceeding involving the Debtor.

            1.24.            Order Confirming the Plan:             means the Final Order

    of the Court pursuant to Bankruptcy Code §1129, finding that the

    Debtor’s        Plan      meets    the    requirements     of    Chapter     11   of   the

    Bankruptcy Code and is entitled to Confirmation, and which may

    contain such other provisions, orders, findings, modifications and


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    judgments which by the terms of this Plan or the Bankruptcy Code

    are appropriate              and    necessary        to    carry    forward    this     Plan   to

    substantial           consummation,           including      the    Exhibits      (as    may   be

    amended or modified).

            1.25.            Penalty        and    Interest:           means    any   statutorily

    prescribed         penalty         or   interest         which   has   accrued    because      of

    Debtor’s failure to pay a tax imposed or to file a tax return with

    a governmental entity.

            1.26.            Petition:        means the Voluntary Petition filed by

    Debtor under §301 of Title 11 commencing this case.

            1.27.            Petition Date:             means June 24, 2016, the date the

    case was filed under Chapter 11 of the Bankruptcy Code.

            1.28.            Plan:      means this Plan of Reorganization, including

    any modifications, amendments or corrections made in accordance

    herewith under the provisions of the Code.

            1.29.            Priority Claim:            means any Claim, other than a Tax

    Claim      or    an    Administrative           Claim      entitled    to     priority     under

    §507(a).

            1.30.            Pro Rata or Pro Rata Share:                means the amount which

    is the result of multiplying the net proceeds or total                                  proposed

    dividend owing to a named Class of Creditors pursuant to the terms

    of this Plan, by that fraction in which the numerator is the

    allowed amount of the particular Creditor’s Claim of the named

    Class      and     the     denominator         is    the    allowed    amount     of    all    the

    Creditors' Allowed Claims of the named Class.

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            1.31.            Professional Fees:       means the Allowed Claims for,

    or those charged by, attorneys, accountants, appraisers or other

    professionals and reimbursement of expenses reasonably incurred in

    rendering such professional services which are:

            (a)     allowed pursuant to Bankruptcy Code and entitled to
                    priority status in priority to or as Administrative
                    Expenses Claims pursuant to Bankruptcy Code §§ 327, 330,
                    331, 503(b)(3)(D), 507(a)(1), 1102, 1103; and/or

            (b)     allowed under the Plan after the Effective Date for
                    services rendered after the Effective Date when approved
                    by the Court, if necessary, and only to the
                    extent reasonable under existing case law either at law
                    or in equity.

            1.32.            Re-vested Debtor:        means COWBOYS FAR WEST, LTD.,

    LLC as re-vested with property of its respective estate pursuant

    to §1141(b).

            1.33.            Rejection Claim:      means any Claim arising by reason

    of rejection by the Debtor of a contract or lease pursuant to §365

    or §1123(b)(2).

            1.34.            Secured Claim:      means any Allowed Claim secured      by

    property of the Debtor, to the extent of the value of such

    collateral.

            1.35.            Secured Creditor(s):         means a Creditor holding an

    Allowed Secured Claim, and may include Allowed Claims evidenced by

    valid Judgment Liens, Statutory Liens, other involuntary liens or

    mortgages,         and     all   voluntary    liens    or   mortgages   against   the

    property of the estate or assigned assets.



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            1.36.            Settled Claim(s), Settlement(s) or Settle:                means

    the Allowed Claims resulting from either the terms of agreements

    regarding disputed Claims reached by and between:

            (a)       the respective Creditors having disputed, unliquidated,
                      contingent or Non-Allowed Claims; and

            (b)       the Debtor which fully liquidates and renders undisputed
                      any Claim which is thereafter deemed an Allowed Claim.

            1.37.            Tax Claim:     means any Claim of governmental units

    for     taxes      as    described    in    §507(a)(7),        excluding    penalty     and

    interest on such tax.

            1.38.            Unsecured Claim:            means any Claim that is not a

    Secured Claim, Administrative Claim, Priority Claim or Tax Claim.

            1.39.            Unsecured    Creditor(s):             means      all   Creditors

    holding Claims against the Debtor other than an Allowed Secured

    Claim.

                                            ARTICLE II

                            Certain General Terms and Conditions

            2.01.            Satisfaction      of   all     Claims:      Various    types    of

    Claims are defined in this Plan.                       This Plan is intended to and

    shall satisfy, in the manner specified herein, all claims against

    Debtor       of    whatever      character,          whether   or   not   contingent     or

    liquidated, and whether or not Allowed Claims.                             ONLY ALLOWED

    CLAIMS AND INTERESTS WILL RECEIVE THE TREATMENT AND DISTRIBUTIONS

    SPECIFIED BY THE PLAN.            UPON THE EFFECTIVE DATE, THE DEBTOR               SHALL

    BE RELEASED AND DISCHARGED FROM ALL DEBTS AND LIABILITIES AND


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    DEBTOR SHALL OWN ALL OF THEIR RESPECTIVE PROPERTY SUBJECT ONLY TO

    THE CLAIMS AND INTERESTS OF CREDITORS, IF ANY, AND LIENS AND

    ENCUMBRANCES, IF ANY, AS SPECIFICALLY SET FORTH IN THE PLAN.

            2.02.            Securities Laws:        Any satisfaction provided to a

    Creditor pursuant to this Plan which is or may be deemed to be a

    security is exempt from registration under certain state and

    federal securities laws pursuant to §1145.                      Such exemption does

    not extend to most subsequent transfers of such interests by

    “underwriters” as that term is defined in §1145.

            2.03.            Disbursing Agent:        MICHAEL   J.    MURPHY, Managing

    Member of the              Debtor, shall serve as disbursing agent for all

    distributions under the Plan.              MICHAEL J. MURPHY may appoint such

    transfer or other agents as it deems necessary and reasonable to

    assist in making distributions required by the Plan.

            2.04.            Time for Filing Claims:

            2.04.01          All Claims assertable and arising prior to the

    Petition        Date      shall   have   been    filed   with    the   United   States

    Bankruptcy Clerk in San Antonio, Texas by the Bar Date.                           The

    schedules are on file at the office of the Bankruptcy Clerk and

    are open for inspection during regular business hours at the

    office of the Bankruptcy Clerk, 615 E. Houston St., San Antonio,

    Texas 78205. Claims filed pursuant to assumption or rejection of

    Executory Contracts should also refer to Section VII of the Plan

    for special requirements regarding their Claims.                   Debtor’s failure


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    to    designate         a     Claim     in    their    schedules    as   being    disputed,

    contingent or unliquidated, does not constitute an admission that

    such claim is not subject to objection.                       The Debtor reserves the

    right to dispute, or assert offsets or defenses, to any Claims

    reflected in their schedules as to amount, liability or status.

    This statement is not intended by the Debtor to mean that all

    Claims       shown       in      the    schedules      are   disputed,     contingent     or

    unliquidated, thereby requiring all Creditors to file Claims.                              It

    is merely included to prevent any Creditor from seeking to use the

    schedules as an admission by Debtor as to the amount of liability

    in a Claim objection or other proceeding.                          If a Creditor’s Claim

    is    scheduled         without         a    disputed,   contingent      or    unliquidated

    notation, that Creditor need not file a Claim unless that Creditor

    disagrees         with      the    amount      scheduled.      If    the      Debtor   amends

    downward any Claim shown on the schedules, those Claimants will be

    notified and will be given additional time as provided by the

    Bankruptcy Rules within which to file their Proofs of Claim, if

    they so desire.

            2.04.02          All Administrative Claims assertable and arising

    during the Case shall be filed with the United States Bankruptcy

    Clerk in San Antonio, Texas no later than ten (10) days prior to

    the     first       hearing        on       confirmation;    provided,        however,   all

    Administrative Claims of the Case filed by professionals for

    compensation incurred prior to Confirmation under §330 shall be


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    filed within ninety (90) days after the Confirmation Date.                              If

    these Claims are not filed on or before the respective deadlines,

    such Claims shall not be allowed, unless the Court has ordered

    otherwise or orders otherwise.

            In    addition,          all   requests    for   payment   of     Administrative

    Claims incurred after the confirmation of the Plan shall be filed

    with the United States Bankruptcy Clerk in San Antonio, Texas

    prior to or simultaneously with the Debtor’s application for Final

    Decree.

            2.05.            Modifications      to    the    Plan:     This    Plan   may   be

    modified or corrected upon motion of the Debtor pursuant to §1127

    and Bankruptcy Rule 3019 prior to Confirmation.                      Modifications or

    corrections may be made without additional disclosure pursuant to

    §1125 provided that the Court finds that the modifications or

    corrections do not adversely affect any Claim or Interest or

    classes of Claims or Interests.                   After the Confirmation Date, the

    Debtor, upon order of the Court and in accordance with §1127(b),

    may remedy any defect or omission or reconcile any inconsistencies

    in the Plan in such a manner as may be necessary to carry out the

    purposes and intent of the Plan.

            2.06.            Valuation of Secured Claims:              All Secured Claims

    shall be allowed in an amount as agreed to by the Debtor and the

    Creditor holding the Secured Claim, as provided by this Plan,

    unless the claim is disputed, or as ordered by the Court pursuant


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    to §506.        The Court shall not be required to determine the amount

    of a Secured Claim unless a motion to require such determination

    is filed at least ten (10) days prior to the first hearing on

    confirmation by the Debtor or other party in interest.                        In the

    event that such a Motion is not filed, the value of the property

    as set forth in this Plan shall be deemed as the court's finding

    as to valuation and the judgment and tax lien holders shall be

    deemed Unsecured Creditors.

                                            ARTICLE III

                            Division of Creditors in the Classes

            3.01.            Class 1:     Claim   of   The   Law   Office   of   WILLIS &

    WILKINS, L.L.P. by James S. Wilkins, arising under §507(a)(1) of

    the Bankruptcy Code up to $75,000.00, and fees due the United

    States Trustee.

         3.02       Class 2:         All ad valorem taxes, whether or not secured,

    particularly including any liability to the Bexar County Taxing

    Authorities –

    Bexar County Tax Assessor/Collector                                       $150,000.00
    P.O. Box 839950
    San Antonio, TX 78283-3950

                                                                      Total $150,000.00

            3.03 Class 3:            Secured portion of claim of the following:

    Crossroads 2004, LLC                                                    $4,200,000.00
    70 North May Ave.
    Oklahoma City, OK 73102
                                                                   Total    $4,200,000.00



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            3.04 Class 4:            Secured portion of claim of the following:



    Prinsbank                                                          $2,059,837.19
    508 Third Street
    P.O. Box 38
    Prinsburg, MN 56281

                                                             TOTAL:    $2,059,837.19

            3.05 Class 5:            Secured portion of claim of the following:

    Ford Motor Credit                                                     $96,775.35
    P.O. Box 650575
    Dallas, TX 75265-0575

                                                            TOTAL         $96,775.35

            3.06 Class 6:            Unsecured claims of the following:

    Amie Haynes                                      (DISPUTED)           $12,000.00
    c/o Kevin B. Miller
    Law Office of Miller & Bicklein
    8270 Callaghan Road, Suite 250
    San Antonio, TX 78230

    (A claim has been filed and the Debtor has filed an Objection. The Debtor values
    the claim at $10,000.00, but the Court has entered an order that for voting
    purposes, the Claim shall be deemed to be $65,477.95)
    Johnson Controls                                                         $667.20
    P.O. Box 730068
    Dallas, TX 75373
    Nicholas Joseph Finnerty                              (DISPUTED)         UNKNOWN
    c/o Monica I. Bohuslov
    901 Main Street, Suite 5200
    Dallas, TX 75202

    NO CLAIM FILED - WILL NOT BE PAID
    Renea Menzies                                                          $3,500.00
    c/o Carabin & Shaw, P.C.
    630 Broadway
    San Antonio, TX 78215
    Sunstate Equipment Co., LLC                                            $3,523.21
    5552 W. Washington St.
    Phoenix, AZ 85034




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    Triple D Security, Inc.                                                              $3,269.68
    P.O. Box 2346
    Victoria, TX 77902
                                                                 UNDISPUTED TOTAL $20,959.89


            3.07 Class 7:            The Debtor, COWBOYS FAR WEST, LTD.


            B.      Provision for Treatment of Classes of Creditors

            The actual and necessary costs and expenses of administration

    of, and claims against, Debtor entitled to priority in accordance

    with     §503(b)        and      §507(a)(1)       of   the    Bankruptcy      Code    are   not

    impaired.         The holder of any Allowed Administrative Claim, except

    as otherwise provided in the Plan, shall be paid in full, without

    interest, in cash, on the effective date of the Plan, from estate

    funds or upon such other terms as may be agreed upon between the

    holder of any such claim and the Debtor.                               Such payment will

    include payment of all expenses incurred by the Debtor in the

    operation of the estates since the date of filing of this cases,

    together        with      authorized        and     allowed     fees    and    expenses     of

    professionals            employed      by     the      Debtor     including      attorneys,

    accountants and appraisers.                   Debtor estimates that there will be

    no administrative claims except as otherwise provided for in Class

    1.




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                                                ARTICLE IV

            4.01.            Provision for Dealing with Administrative Expense

                             Claims

            The actual and necessary costs and expenses of administration

    of, and Claims against, Debtor entitled to priority in accordance

    with     §503(b)        and      §507(a)(1)        of   the   Bankruptcy        Code   are   not

    impaired the holder of any Allowed Administrative Claim, except as

    otherwise provided in the Plan, shall be paid in full, without

    interest in cash, on the Effective Date of the Plan, from estate

    funds or upon such other terms as may be agreed upon between the

    holder of any such Claim and the Debtor.                                 Such payment will

    include payment of all expenses incurred by the Debtor in the

    operation of the estates since the date of filing of this case,

    together        with      authorized         and     allowed     fees     and    expenses    of

    professionals            employed       by     the      Debtor     including       attorneys,

    accountants and appraisers.                   Debtor estimates that there will be

    no Administrative Claims except as otherwise provided for in Class

    1.

                                                 ARTICLE V

            5.01.            Provision for Treatment of Classes of Creditors

            The actual and necessary costs and expenses of administration

    of,     and      claims          against,    Debtor’s         entitled    to     priority    in

    accordance with §503(b) and §507(a)(1) of the Bankruptcy Code are

    not impaired.             The holder of any Allowed Administrative Claim,



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    except as otherwise provided in the Plan, shall be paid in full,

    without interest, in cash, on the effective date of the Plan, from

    estate funds or upon such other terms as may be agreed upon

    between the holder of any such claim and the Debtor.                      Such payment

    will include payment of all expenses incurred by the Debtor in the

    operation of the estates since the date of filing of this cases,

    together        with      authorized     and     allowed     fees   and   expenses   of

    professionals            employed   by     the      Debtor    including     attorneys,

    accountants and appraisers.               Debtor estimates that there will be

    no administrative claims except as otherwise provided for in Class

    1.

            Class 1:         The Class 1 claim of the WILLIS & WILKINS, L.L.P.

    by James S. Wilkins shall be paid from the retainer held by the

    claim holder upon the Court’s approval of the claim holder’s fee,

    current cash reserves, and from future income of the Debtor.                         The

    Class 1 claim of the United States Trustee shall be paid as they

    become due.            The reorganized Debtor or other responsible party

    shall be responsible for timely payment of fees incurred pursuant

    to 28 U.S.C. § 1930(a) (6).               After confirmation, the reorganized

    Debtor or other responsible party shall file with the Court and

    serve on the United States Trustee a Quarterly Financial Report

    for each month (or portion thereof) the case remains open in a

    format prescribed by United States Trustee and provided to the

    Debtor by the United States Trustee.                       The Class 1 Creditor is


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    deemed unimpaired by the Plan.

            Class 2:         The Class 2 creditors, to the extent that their

    claims are allowed, shall receive 100% of their claims as follows:

    The debt to the Bexar County Tax Assessor/Collector, shall be paid

    over a period of sixty (60) months with 12% interest.

            Class 3:         The Class 3 Creditors, to the extent that their

    claims are allowed, shall be paid as follows: CROSSROADS 2004,

    LLC, shall be paid at its contract rate, save and except that any

    debt accrued since the filing of the Chapter 11 petition and any

    attorney’s fees incurred by said entity shall be added to the Note

    balance and payments shall commence thirty (30) days after the

    effective date of the Plan of Reorganization; but it is expressly

    acknowledged that the Promissory Note maturity date shall not be

    extended.

            Class 4:         The Class 4 Creditors, to the extent that their

    claims are allowed shall be paid as follows: PRINSBANK shall be

    paid at its contract rate, save and except that any debt accrued

    since the filing of the Chapter 11 petition and any attorney’s

    fees incurred by said entity shall be added to the Note balance

    and payments shall commence thirty (30) days after the effective

    date      of     the     Plan    of   Reorganization;   but   it   is   expressly

    acknowledged that the Promissory Note maturity date shall not be

    extended.




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            Class 5:         The Class 5 Creditors, to the extent that their

    claims are allowed shall be paid as follows:                        FORD MOTOR CREDIT

    shall be paid at its contract rate.

            Class 6:         The Class 6 Creditor, to the extent that their

    claims are allowed shall be paid as follows: The Class 6 Creditors

    are unsecured debt which is $20,953.89 shall be paid as follows:

    100% to be paid pro rata over a period 60 months with 3% annual

    interest.

                                            ARTICLE VI

                                Means for Execution of the Plan

            6.01.            Distributions Under the Plan: COWBOYS FAR WEST,

    LTD.,      the     Debtor,       in   its   sole   discretion,      will    make    those

    transfers         and     distributions      required   by    this    Plan    from   the

    revested Debtor’s operations and upon the latter to occur of (I)

    the Confirmation Date, or (ii) as soon as practicable after a

    Final Order is entered allowing the holder’s Claim or Interest, or

    (iii)       as    otherwise       provided    by    order    of     the    Court.      No

    distribution or transfer shall be made, however, which would

    result       in    any     Creditor    receiving     more    than    is    specifically

    provided for in this Plan.

            6.01.01          Manner of Cash Payments:       Cash Payments to be made

    pursuant to the Plan shall be made by check drawn on a domestic

    bank from a domestic bank.




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            6.02.            Cramdown:   The Court may confirm the Plan even

    though fewer than all Classes of Creditors or Class of Interest

    holders have accepted the Plan.                  In the event that any impaired

    Class of Creditors or Class of Interest holders fails to accept

    the Plan by adequate vote as described in §§ 1126 and 1129(a), the

    Debtor may request the Court to confirm the Plan in accordance

    with §1129(b) of the Code.                Furthermore, to the extent the Plan

    does not embody certain provisions setting forth the circumstances

    apprehended by §1129(b), the Debtor may amend or modify the Plan

    to include such provisions should it become necessary to confirm

    the Plan under cramdown.

            6.03.            Unclaimed Distributions:      In the event that COWBOYS

    FAR WEST, LTD., the Debtor, is unable to locate a holder of a

    Claim or Interest in order to make such distribution as herein

    provided, the revested Debtor shall hold such distribution for the

    benefit of such Claim or interest holder until all payments and

    transfers are made pursuant to this Plan, then such distributions

    or property shall be paid pro rata to Class 4 Creditors.

            6.04.            Documentation:     The appropriate documentation for

    each transaction contemplated herein shall be in accordance with

    Article IV herein.

            6.05.            Funding of Plan:        The distributions and payments

    provided for in the Plan shall be funded by the revested Debtor’s

    future business operations and sale of assets, if necessary.


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            6.06.            Controversy Concerning Impairment:          In the event of

    a controversy as to whether any Creditor(s) or interest holders or

    Classes of Creditors are impaired under the Plan, the Bankruptcy

    Court shall, after notice and hearing, determine such controversy.

    To the extent that the Court finds that a Class of Creditors or a

    Creditor is impaired where designated as unimpaired, that Creditor

    or Class of Creditors may file a vote, notwithstanding other

    provisions, at the time of Confirmation.                     If determined to be

    unimpaired, the Creditor or Class of Creditors shall be deemed to

    accept the Plan as provided in §1126(f).

                                            ARTICLE VII

                         Executory Contracts and unexpired Leases

            7.01.            The Debtor have no leases or executory contracts.

            7.02.            Rejection Claims must be filed with the United

    States Bankruptcy Clerk in San Antonio, Texas within one hundred

    eighty (180) days after Confirmation.                    Any objections to such

    Rejection Claims shall be filed as provided in Article VIII.

            7.03.            Each executory contract or unexpired lease assumed

    hereby by the Debtor shall be assumed as of the Confirmation Date.

                                        ARTICLE VIII

                Effect of Confirmation, Release and Binding Effect

            8.01.            Confirmation     of    the   Plan   shall   operate   as   a

    discharge of the Debtor from all Claims and Interests to the

    extent provided under §1141(d)(2).


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            8.01.01           The treatment of Claims and Interests in the Plan

    shall be deemed in exchange for and shall constitute the complete

    satisfaction and release of all Claims and Interests of any nature

    whatsoever against the Debtor or any of its assets or properties,

    except where otherwise specifically provided herein.

            8.01.02           Except as specifically provided herein, the Plan

    shall discharge and satisfy all obligations of or claims against

    the     Debtor       or    revested   Debtor    to    the   extent   provided   under

    §1141(d)(2), and no Creditor, interest holder or lessor shall have

    any claim against Debtor upon confirmation with respect to any

    KNOWN liability or obligation of the Debtor or                          the Estate,

    including, but not limited to:

            a)      curing or providing for compliance with regard to any

    violations by the Debtor of or conflicts with any regulations or

    licensing requirement, or of any judgment, decree, order, statute,

    rule or regulation of any court or any public, governmental or

    regulatory agency or body having jurisdiction over the Debtor;

            b)      any unfair labor practices or discrimination claims,

    complaints or charges filed or threatened against the Debtor;

            c)      any and all taxes, whether income, excise, corporate,

    franchise,           property,    sales,       use,    payroll,      withholding   or

    otherwise, incurred by or assessed against Debtor prior to the

    Confirmation Date; and




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            d)      any and all liability, claims or responsibility in any

    legal        action,        administrative        proceedings       or    investigations

    instituted by or against the Debtor, or the assets thereof, under

    any law or regulation pertaining to the health or environment

    including, without limitation, the CERCLA Act of 1980 (42 U.S.C.

    §9601 et seq.), as amended from time to time, the regulations

    promulgated thereunder, and statutes or regulations,                                whether

    federal, state or local relating to the health or environment.

            8.02.            Except    as     otherwise      provided   herein,       upon   the

    Confirmation Date, all such Claims and Interests against the

    Debtor shall be satisfied and released in full; and all such

    holders shall be precluded from asserting against the Debtor, its

    successors or assigns and its assets or properties, any other or

    further       Claim       based    upon    any    act,    debt,   claim    or     omission,

    transaction or other activity of any kind or nature that occurred

    prior to the Confirmation Date.

            8.03.            Upon a Final Order of Confirmation, the provisions

    of    the     Plan      will     bind   the   Debtor,      revested      Debtor    and   all

    Creditors and interest holders, whether or not they accept the

    Plan.

            8.04.            This Plan is binding in accordance with §1141. The

    automatic stay provided by §362 will terminate on the Effective

    Date.




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                                                ARTICLE IX

             Procedures for Resolving Disputed Claims and Interests

                                     and Disputed Claims Reserve

            9.01.            Debtor or any other party in interest, may object

    to any claim.            All objections to Claims must be filed within one

    hundred and eighty days (180) days after the Effective Date.

            9.02.            The objecting party shall litigate to judgment,

    settle or withdraw objections to disputed Claims and disputed

    Interests.         All legal fees and expenses of the Debtor incurred                     in

    the prosecution of objections to Claims or Interests shall be paid

    as a Class 4 claim.

            9.03.            In determining the amount of the distribution due

    the holders of Allowed Claims prior to the resolution of all claim

    disputes, the appropriate Pro Rata calculations pursuant to the

    Plan shall be made as if all disputed Claims were Allowed Claims

    in    the     full     amount      claimed    by     the    holders     thereof;   provided

    however, that the Court may estimate a lesser amount for a Claim

    holder used in such a Pro Rata calculation or the Trustee and the

    disputed claim holder may agree upon distribution in an amount

    less than that claimed.

            9.04.            COWBOYS     FAR     WEST,    LTD.,    LLC    shall   hold   in   an

    interest-bearing                 account,      and         separately      account     for,

    distributions in respect to disputed Claims.

            9.05.            At such time as a disputed Claim becomes an Allowed


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    Claim, the distributions reserved for such Allowed Claim shall be

    released from the Disputed Claims reserve and delivered to the

    holder of such Allowed Claim.                     In the event that, or to the extent

    that, a disputed Claim is disallowed, the distributions reserved

    for such claim shall be released from the Disputed Claims reserve

    for     Pro     Rata      distribution        to    Allowed      Claims    upon    the    next

    Distribution Date.

            9.06.            Except      as   the      Court   may     order    otherwise,      no

    payments or distribution shall be made with respect to all or any

    portion of a disputed Claim unless and until all objections to

    that Claim have been determined by Final Order.                                 Payments and

    distributions to each holder of a disputed claim to the extent

    that it ultimately becomes an Allowed Claim shall be made in

    accordance with the provisions of the Plan with respect to the

    Class of Claims in which the respective holder is a member.

                                               ARTICLE X

                                      Retention of Jurisdiction

            The Court shall retain jurisdiction of this case pursuant to

    the provisions of Chapter 11 of the Bankruptcy Code, until final

    allowance         or    disallowance         of    all   claims,    or     to   resolve    all

    controversies affected by this Plan in respect to the following

    matters:

            10.01.           To      determine    all      controversies       relating      to or

    concerning the classification, allowance or satisfaction of Claims


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    or Administrative Expenses;

            10.02.           To determine any and all pending applications for

    the rejection or assumption and/or assignment, as the case may be,

    of executory contracts and unexpired leases to which the Debtor or

    Revested Debtor are a party or with respect to which the Debtor

    may be liable, and to determine and, if necessary, to liquidate,

    any and all Claims arising therefrom;

            10.03.           To determine any and all applications, adversary

    proceedings, and contested or litigated matters properly before

    the Court, including, without limitation, any proceeding commenced

    for the purpose of avoiding, recovering or preserving for the

    benefit       of     the     estate    any   transfer   of   property,    obligation

    incurred by the Debtor, lien or setoff;

            10.04.           To determine any dispute arising under this Plan

    and to make such orders as are necessary or appropriate to carry

    out the provisions of the Plan including to approve or determine

    controversies concerning closing documentation;

            10.05.           To grant extensions of any deadlines set herein;

            10.06.           To hear and determine all requests for compensation

    and/or       reimbursement        of    expenses    which    may   be    made   after

    Confirmation;

            10.07.           To enforce all release provisions under this Plan;

            10.08.           To modify the Plan pursuant to Paragraph 2.05 and

    the Code; and


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            10.09.           In addition, and at any time, the Court may make

    such orders or give such direction as may be appropriate under

    §1142.

            10.10            To pursue any and all fraudulent transfer claims,

    as the case may be.

                                             ARTICLE XI

                                               Notices

            All notices or demands required or permitted herein shall be

    deemed to have been duly given and served when made in writing and

    deposited in the United States mail, first class, in an envelope

    addressed to the last known address of the notified party, with

    postage prepaid.

                                             ARTICLE XII

                                         Discharge of Debtor

            Pursuant to 11 U.S.C. §1141(d)(2) and the rights granted

    herein, the entry of a final order by the Court confirming this

    Plan shall operate as a full and complete discharge of the Debtor

    on all classes of claims.

            The consideration received by the Debtor’s creditors, as

    provided in the Plan, will be in full final satisfaction, release,

    discharge and cancellation of any and all claims of such creditors

    against COWBOYS FAR WEST, LTD., pre-confirmation and the release

    of all liens upon his successful completion of all payments and

    plan provisions.                 The claims of the taxing authorities shall be


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    paid, not discharged.

                                              ARTICLE XIII

                                              Final Decree

            The Debtor shall file an application for Final Decree no

    later than six (6) months following confirmation of the Plan.

                                                  ARTICLE XIV

                            Payment to the United States Trustee

            In accordance with §1129(a)(12) of the Bankruptcy Code and 28

    U.S.C. §1930, the Debtor shall on the Confirmation Date pay all

    fees then due to the United States Trustee.

                                                  ARTICLE XV

     Post-Petition Reports and Payments to the United States Trustee

            On the Confirmation Date, the Debtor shall be relieved of any

    further obligation to file quarterly operating reports with the

    Bankruptcy Court.                However, the Debtor and the Reorganized Debtor

    shall make all post-confirmation payments to the United States

    Trustee as may be required pursuant to 28 U.S.C. §1930(a)(6), and

    shall provide to the United States Trustee such financial reports

    as the United States Trustee may reasonably request, until the

    Chapter       11    case         has   been    closed   by   the   Bankruptcy     Court   or

    converted to another chapter under the Bankruptcy Code.

                                                  ARTICLE XVI

                              Vesting of Property of the Estate

            Post-confirmation,               all     property    of    the   Estate   will    be


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    conditionally vested in the Debtor, as a “reorganized Debtor.”           In

    the event of a post-confirmation conversion of the Chapter 11 Case

    to a case under Chapter 7 of Title 11 of the Bankruptcy Code, all

    remaining conditionally vested property of the Estate shall come

    into and become a part of the Chapter 7 Estate.




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            RESPECTFULLY SUBMITTED this 12th day of JUNE, 2017.



                                      /S/MICHAEL J. MURPHY
                                      MICHAEL J. MURPHY, President of
                                      Cowboys   Concert    Hall-Arlington,
                                      Inc.,   General   Partner   to   the
                                      DEBTOR-IN-POSSESSION




    APPROVED AS TO FORM:
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         Attorney for Debtor




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                                     CERTIFICATE OF SERVICE

                I hereby certify that a true and correct copy of the

    foregoing Second Amended Plan of Reorganization has been sent to

    the following by first class U.S. mail, on this 12th day of June,

    2017:



            U.S. Trustee
            615 E. Houston Street, Suite 533
            San Antonio, Texas 78205




                                                    /s/James S. Wilkins
                                                     JAMES S. WILKINS
                                                     Attorney for Debtor




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